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                 EXHIBIT A
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               CERTIFICATION OF PLAINTIFF PURSUANT TO FEDERAL SECURITIES LAWS

              I, Susan S Church , duly certify and say, as to the claims asserted under the federal securities
laws, that:

              1. I have reviewed a complaint filed in the action(s).

           2. I did not purchase the security that is the subject of this action at the direction of plaintiff's
counsel or in order to participate in this private action.

          3. I am willing to serve as a representative party on behalf of the class, including providing
testimony at deposition and trial, if necessary.

           4. My transaction(s) in Cocrystal Pharma, Inc. which are the subject of this litigation during
the class period set forth in the complaint are set forth in the chart attached hereto.

          5. Within the last 3 years, I have not sought to serve nor have I served as a class
representative in any federal securities fraud case.

           6. I will not accept any payment for serving as a representative party on behalf of the class
beyond the Plaintiff's pro rata share of any recovery, except as ordered or approved by the court,
including any award for reasonable costs and expenses (including lost wages) directly relating to the
representation of the class.

           I certify under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct. Executed this November 19, 2018.


 Name: Susan S Church
Signed:
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                                                          Schedule A
            Transactions of Susan S. Church in Cocrystal Pharma, Inc. f/k/a/ BioZone Pharmaceuticals, Inc. (COCP)
Client Name                                 Susan S. Church
Company Name                      Cocrystal Pharma, Inc. f/k/a/ BioZone
                                          Pharmaceuticals, Inc.
Ticker Symbol                                    COCP
Class Period Start                             9/23/2013
Class Period End                                9/7/2018

  Date of Transaction                      Puchase or Sale                        Quantity           Price per Security
              10/1/2013   Purchase                                                    80,000                       $0.5600
              10/2/2013   Purchase                                                    20,000                       $0.5000
              10/4/2013   Purchase                                                      8,000                      $0.4750
               6/1/2017   Purchase                                                    10,000                       $0.2000
               6/1/2017   Purchase                                                      1,800                      $0.2000
               6/1/2017   Purchase                                                      5,200                      $0.1971
               6/2/2017   Purchase                                                      1,000                      $0.2000
               6/2/2017   Purchase                                                      4,000                      $0.2047
